   Case 2:08-cr-00156-TS Document 36 Filed 03/16/09 PageID.75 Page 1 of 1




            IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  CENTRAL DIVISION




 UNITED STATES OF AMERICA,
        Plaintiff,                                  MEMORANDUM DECISION AND
                                                    ORDER DENYING DEFENDANT’S
                                                    MOTION TO SEVER AS MOOT


                vs.


 IRA WAKEFIELD,                                     Case No. 2:08-CR-156 TS
        Defendant.




      Defendant moves to sever his trial from that of his co-defendant. The co-defendant

has now pleaded and is set for sentencing. Accordingly, there will be no joint trial. It is

therefore

      ORDERED that Defendant’s Motion to Sever (Docket No. 31) is DENIED as MOOT.

      DATED March 16, 2009.

                                         BY THE COURT:


                                         _____________________________________
                                         TED STEWART
                                         United States District Judge
